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      UNITED ARTISTS CORPORATION
  7
  8                      UNITED STATES DISTRICT COURT
  9                     CENTRAL DISTRICT OF CALIFORNIA
                              WESTERN DIVISION
 10
 11   UNITED ARTISTS CORPORATION,           Case No. 2:19-cv-00828
      a Delaware corporation,
 12                                         COMPLAINT FOR:
                    Plaintiff,
 13                                         (1) TRADEMARK INFRINGEMENT
           v.                                   IN VIOLATION OF 15 U.S.C. §
 14                                             1114;
 15   UNITED ARTIST STUDIOS LLC, a          (2) FALSE DESIGNATION OF
      Nevada limited liability company;         ORIGIN IN VIOLATION OF 15
 16   UNITED ARTIST FILM FESTIVAL               U.S.C. § 1125(a);
      LLC, a Nevada limited liability
 17   company; and DOES 1-10, inclusive,    (3) TRADEMARK DILUTION IN
                    Defendants.                 VIOLATION OF 15 U.S.C.
 18                                             § 1125(c);
 19                                         (4) CYBERPIRACY IN VIOLATION
                                                OF 15 U.S.C. § 1125(d);
 20
                                            (5) COMMON LAW TRADEMARK
 21                                             INFRINGEMENT;
 22                                         (6) UNFAIR COMPETITION IN
                                                VIOLATION OF CAL. BUS. &
 23                                             PROF. CODE §§ 17200, ET SEQ.;
                                                AND
 24
                                            (7) COMMON LAW UNFAIR
 25                                             COMPETITION
 26                                         DEMAND FOR JURY TRIAL
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  1            Plaintiff United Artists Corporation (“United Artists”) hereby files its
  2   complaint against defendants United Artist Studios LLC (“UAS”) and United Artist
  3   Film Festival LLC (“UAFF”) (collectively, “Defendants”) and Does 1-10, and
  4   alleges as follows:
  5                               PRELIMINARY STATEMENT
  6            1.    United Artists is one of Hollywood’s oldest and most venerated
  7   producers and distributors of entertainment content. Millions of consumers
  8   worldwide immediately associate the UNITED ARTISTS marks with hundreds of
  9   films that span a century of cinema history, including dozens of the greatest and
 10   most iconic films ever made. Defendants are infringing United Artists’ registered
 11   and famous trademarks by using the “United Artist” name to misleadingly brand
 12   their business activities relating to the production and distribution of theatrical
 13   content, thereby freeriding on United Artists’ preeminent goodwill and reputation in
 14   the entertainment industry. When United Artists attempted to resolve this dispute
 15   informally, Defendants responded with a startling diatribe of epithetical invective
 16   and threats directed at United Artists’ parent company and its counsel, leaving
 17   United Artists with no choice but to enforce its rights against Defendants in federal
 18   court.
 19                                       JURISDICTION
 20            2.    This action arises under the trademark and anti-dilution laws of the
 21   United States, 15 U.S.C. § 1051, et seq., and under the statutory and common law
 22   of unfair competition. This Court has jurisdiction under 28 U.S.C. §§ 1331 and
 23   1338(a) and (b), and § 1367, and 15 U.S.C. § 1121.
 24            3.    Venue is proper under 28 U.S.C. §§ 1391(b) and (c) in this case
 25   because United Artists resides in this District, and, on information and belief,
 26   Defendants are subject to personal jurisdiction in this District and/or a substantial
 27   part of the events or omissions giving rise to the instant claims occurred in this
 28   District.

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  1                                            PARTIES
  2          4.        United Artists is a Delaware corporation, having its principal place of
  3   business in Beverly Hills, California.
  4          5.        On information and belief, UAS is a Nevada limited liability company,
  5   having its principal place of business in Las Vegas, Nevada, and does business in
  6   this District.
  7          6.        On information and belief, UAFF is a Nevada limited liability
  8   company, having its principal place of business in Las Vegas, Nevada, and does
  9   business in this District.
 10          7.        On information and belief, UAS and UAFF are related organizations
 11   and share officers, including, but not limited to, James Schramm.
 12          8.        Defendants are subject to personal jurisdiction in this District because
 13   they do business in the District and/or the claims arose in this District.
 14          9.        The true names, identities and capacities, whether individual, associate,
 15   corporate or otherwise, of Defendants DOES 1 to 10, inclusive, and each of them
 16   (“the DOE Defendants”), are unknown to United Artists at this time, who therefore
 17   sues the DOE Defendants by such fictitious names. When the true names and
 18   capacities or participation of the DOE Defendants are ascertained, United Artists
 19   will amend this complaint to assert the true names, identities and capacities. United
 20   Artists is informed and believes and thereon alleges that each of the DOE
 21   Defendants sued herein is responsible for the wrongful acts alleged herein, and is
 22   therefore liable to United Artists in some manner for the events and happenings
 23   alleged in this complaint. United Artists is informed and believes and thereon
 24   alleges that at all times herein mentioned, the DOE Defendants were and are doing
 25   business and/or residing in this District.
 26                    UNITED ARTISTS’ BUSINESS AND TRADEMARKS
 27          10.       United Artists and its predecessor entities have been active in the
 28   motion picture industry for a century. United Artists was founded in February 1919

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  1   by industry legends D.W. Griffith, Charlie Chaplain, Mary Pickford, and Douglas
  2   Fairbanks. Throughout its storied history, United Artists and its predecessor
  3   entities have produced and distributed films, television programs, and related
  4   entertainment products, and also have been involved continuously in motion picture
  5   and television financing, production, and distribution services.
  6         11.   United Artists has produced or distributed many of cinema’s greatest
  7   masterpieces and commercial successes, including Modern Times (1936), A Star is
  8   Born (1937), Stagecoach (1939), High Noon (1952), Marty (1955), 12 Angry Men
  9   (1957), The Apartment (1960), West Side Story (1961), In the Heat of the Night
 10   (1967), Midnight Cowboy (1969), Fiddler on the Roof (1971), One Flew Over the
 11   Cuckoo’s Nest (1975), Network (1976), Annie Hall (1977), Apocalypse Now (1979),
 12   Raging Bull (1980), Rain Man (1988), The Thomas Crown Affair (1999), Capote
 13   (2005), and Valkyrie (2008). In addition, United Artists has produced several hit
 14   television series, including Outer Limits and Rat Patrol. More recently, the hit
 15   television shows Survivor, Shark Tank, and The Voice were produced under the
 16   United Artists Media Group banner during the 2015-16 season.
 17         12.     United Artists has undertaken the foregoing activities under the
 18   UNITED ARTISTS mark or versions thereof (the “UNITED ARTISTS Marks”)
 19   and, consequently, owns common law rights in and federal registrations of the
 20   following UNITED ARTISTS Marks:
 21          Mark             Reg. No.        Class and Goods/Services          Reg. Date
      UNITED ARTISTS         1,624,112    Class 41: Entertainment services –   Nov. 20, 1990
 22                                       namely production and distribution
 23                                       of motion pictures

 24                          1,625,273    Class 41: Entertainment services –   Nov. 27, 1990
                                          namely production and distribution
 25                                       of motion pictures
 26
 27
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  1         Mark          Reg. No.        Class and Goods/Services            Reg. Date
  2                       2,091,641   Class 9: pre-recorded video tapes     Aug. 26, 1997
                                      and video discs and motion picture
  3                                   films whose subject matter is
  4                                   entertainment, namely, action
                                      adventure, comedy, drama, literary,
  5                                   historical, biographical and suspense
  6                                   themes; cartoons
                                      Class 16: posters, film guides, film
  7                                   programs and books whose subject
  8                                   matter covers all topics related to
                                      motion picture films, including the
  9                                   history thereof and individuals
 10                                   featured in motion pictures
                                      Class 41: entertainment services,
 11                                   namely, production and distribution
 12                                   of motion pictures

 13          UA           3,431,329   Class 9: Motion picture films        May 20, 2008
                                      featuring entertainment, namely,
 14                                   action adventures, dramas,
                                      comedies, romances, science fiction,
 15                                   horror and mysteries; pre-recorded
 16                                   video discs and DVDs featuring
                                      entertainment
 17
                                      Class 41: Entertainment services,
 18                                   namely, production and distribution
                                      of a series of theatrical motion
 19                                   pictures; providing a website
 20                                   featuring motion pictures and
                                      television programming
 21
      UNITED ARTISTS      4,856,577   Class 41: Entertainment services,      Nov. 17, 2015
 22    MEDIA GROUP                    namely, production and distribution
                                      of motion pictures
 23
      UNITED ARTISTS      4,856,615   Class 41: Entertainment services,      Nov. 17, 2015
 24    MEDIA GROUP                    namely, production and distribution
 25                                   of television programming
                          4,856,661   Class 41: Entertainment services,      Nov. 17, 2015
 26                                   namely, production and distribution
 27                                   of motion pictures, television
                                      programs and Internet programming
 28

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  1   True and correct copies of certificates of registration reflecting these UNITED
  2   ARTISTS Marks are attached hereto as Exhibit A. United Artists also has a
  3   pending application to federally register the mark UA UNITED ARTISTS
  4   DIGITAL STUDIOS & Design (Ser. No. 88/002,587), which application was
  5   recently published without opposition. A true and correct copy of printouts from
  6   the U.S. Patent & Trademark Office’s (“PTO”) website reflecting this application
  7   are attached hereto as Exhibit B.
  8               DEFENDANTS AND THEIR INFRINGING ACTIONS
  9         13.    On information and belief, Defendants are using the marks UNITED
 10   ARTIST STUDIOS and UNITED ARTIST FILM FESTIVAL in conjunction with
 11   services offered in the motion picture and entertainment industry, all without
 12   United Artists’ approval, license, or consent.
 13         14.    On information and belief, UAS operates a website on the URL
 14   www.unitedartiststudios.com (the “UAS Website”). On the UAS Website, UAS
 15   expressly claims trademark rights in both UNITED ARTISTS STUDIOS and
 16   UNITED ARTIST FILM FESTIVAL and – until recently – identified itself as “a
 17   motion picture entertainment company,” as set forth in the below screenshot of the
 18   UAS Website, captured, on information and belief, on or around August 18, 2018:
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  1
  2   After receiving United Artists’ initial cease and desist letter (as described below in
  3   Paragraph 19), UAS replaced the words “a motion picture entertainment company”
  4   with “a multi-media entertainment film studio and conglomerate,” as set forth in the
  5   below screenshot of the UAS Website, captured on February 4, 2019:
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 20         15.    On information and belief, UAFF operates a website on the URL
 21   www.unitedartistfilmfestival.com (the “UAFF Website”). On the UAFF Website,
 22   UAFF prominently uses the UNITED ARTIST FILM FESTIVAL mark as the
 23   name of a film festival, as set forth in the below screenshot of the “The Program”
 24   page of the UAFF Website, captured on February 4, 2019:
 25   ///
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 27   ///
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 22         16.    As the above screenshot reflects, UAFF states that it is “the only film
 23   festival that guarantees a commercial studio level theatrical distribution deal
 24   (release) for ALL winners (1st, 2nd and 3rd place).” Further, UAFF states that it
 25   “will broadcast [its] annual event on several national and international TV networks
 26   reaching America as well as 120 other countries.” Notably, the UAFF Website
 27   does not include a privacy policy, terms and conditions, or any contact information
 28   for UAFF, and does not identify the individuals and companies purportedly behind

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  1   the UNITED ARTIST FILM FESTIVAL or when or on which networks the
  2   UNITED ARTIST FILM FESTIVAL is scheduled to air. Also, the UAFF Website
  3   states that “all finalist [sic] will be listed here by [February] 1, 2019” and that
  4   “2018 winners will be announced [February] 3, 2019,” but as of February 4, 2019
  5   the UAFF Website does not appear to identify finalists or winners of the purported
  6   film festival.
  7          17.       On the “Submit & Register” page of the UAFF Website, UAFF solicits
  8   filmmakers to submit their feature films, documentary and short films, theatrical
  9   trailers, and music videos for consideration in the UNITED ARTIST FILM
 10   FESTIVAL. Entry fees range from $50 - $200, and PayPal links are provided for
 11   payment.
 12          18.       Defendants’ use of the UNITED ARTIST STUDIOS and UNITED
 13   ARTIST FILM FESTIVAL marks is likely to cause consumers to mistakenly and
 14   erroneously believe that Defendants, their marks, and/or the services offered
 15   thereunder have their source or origin with United Artists, are affiliated or
 16   connected with United Artists, or are endorsed or approved by United Artists.
 17   United Artists is damaged by Defendants’ unauthorized use of the UNITED
 18   ARTIST STUDIOS and UNITED ARTIST FILM FESTIVAL marks. Among
 19   other things, consumers are likely to believe that United Artists is affiliated with, or
 20   is the originator of, the UNITED ARTIST FILM FESTIVAL, which it is not.
 21          19.   On September 7, 2018, counsel for United Artists sent Defendants a
 22   letter demanding that they cease and desist any and all infringement of the UNITED
 23   ARTISTS Marks. A true and correct copy of the September 7, 2018 demand letter
 24   to Defendants is attached hereto as Exhibit C.
 25          20.   On September 7, 2018, Mr. Schramm responded to counsel for United
 26   Artists by email – twice – and therein profanely denied United Artists’ claims and
 27   refused its requests to resolve the matter amicably. True and correct copies of those
 28   emails are attached hereto as Exhibit D. That same day, Mr. Schramm left a

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   1   voicemail for the chairperson of United Artists’ counsel’s law firm, who had – and
   2   has – no involvement in this matter and has never represented United Artists.
   3         21.   On September 27, 2018, counsel for United Artists sent Mr. Schramm
   4   a letter responding to his communications of September 7, 2018. A true and correct
   5   copy of United Artists’ September 27, 2017 letter is attached hereto as Exhibit E.
   6         22.   On September 27, 2018, Mr. Schramm responded with yet another
   7   expletive-laden email to United Artists’ counsel again denying United Artists’
   8   claims and refusing its requests to resolve the matter amicably. A true and correct
   9   copy of that email is attached hereto as Exhibit F.
  10         23.   On October 4, 2018, the operator of the email address
  11   films@unitedartistfilmfestival.com (presumably Mr. Schramm) responded to
  12   United Artists’ September 27, 2018 letter, denying United Artists’ claims and
  13   stating that it would not “cease and dismiss.” A true and correct copy of this email
  14   is attached hereto as Exhibit G.
  15         24.   Defendants have not ceased their unlawful activities and continue to
  16   infringe and otherwise violate United Artists’ intellectual property rights.
  17                              FIRST CAUSE OF ACTION
  18        (Trademark Infringement – 15 U.S.C. §§ 1114 – Against Defendants)
  19         25.    United Artists repeats and realleges each and every allegation of
  20   paragraphs 1 through 24, above, as though fully set forth herein.
  21         26.   Defendants have used in commerce, without United Artists’ permission
  22   or authorization, the UNITED ARTISTS Marks or marks confusingly similar
  23   thereto – specifically, the UNITED ARTIST STUDIOS and UNITED ARTIST
  24   FILM FESTIVAL marks – in a manner that is likely to cause confusion with
  25   respect to the source and origin of Defendants’ services and is likely to cause
  26   confusion or mistake and to deceive purchasers as to United Artists’ affiliation,
  27   connection, or association with, or approval or sponsorship of, Defendants, their
  28   businesses, and/or their services.

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   1           27.   Defendants’ acts constitute infringement of the UNITED ARTISTS
   2   Marks in violation of 15 U.S.C. § 1114.
   3           28.   As a direct and proximate result of Defendants’ wrongful acts, United
   4   Artists has suffered and continues to suffer and/or is likely to suffer damage to its
   5   trademarks, business reputation, and goodwill. Defendants will continue to use,
   6   unless restrained, the UNITED ARTISTS Marks or marks confusingly similar
   7   thereto, and will cause irreparable damage to United Artists. United Artists has no
   8   adequate remedy at law and is entitled to an injunction restraining Defendants and,
   9   as applicable, their officers, members, agents, servants, and employees, and all
  10   persons acting in concert with them, from engaging in further acts of infringement.
  11           29.   United Artists is further entitled to recover from Defendants the actual
  12   damages that United Artists has sustained, is sustaining, and/or is likely to sustain
  13   as a result of Defendants’ wrongful acts.
  14           30.   United Artists is further entitled to recover from Defendants the gains,
  15   profits, and advantages that Defendants have obtained as a result of their wrongful
  16   acts.
  17           31.   Because of the willful nature of Defendants’ wrongful acts, United
  18   Artists is entitled to an award of treble damages and increased profits under 15
  19   U.S.C. § 1117.
  20           32.   Pursuant to 15 U.S.C. § 1117, United Artists is also entitled to recover
  21   its costs of suit, and its attorneys’ fees because this is an exceptional case.
  22                             SECOND CAUSE OF ACTION
  23    (False Designation of Origin and Association – 15 U.S.C. § 1125(a) – Against
  24                                         Defendants)
  25           33.   United Artists repeats and realleges each and every allegation of
  26   paragraphs 1 through 32, above, as though fully set forth herein.
  27           34.   Defendants’ unauthorized use of the UNITED ARTISTS Marks or
  28   marks confusingly similar thereto – specifically, the UNITED ARTIST STUDIOS

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   1   and UNITED ARTIST FILM FESTIVAL marks – in conjunction with Defendants’
   2   businesses and their offering of services in the motion picture or entertainment
   3   industry, Defendants’ false designation of origin, and Defendants’ false and
   4   misleading descriptions and representations of fact, as alleged herein, are likely to
   5   cause confusion, or to cause mistake, or to deceive as to the affiliation, connection,
   6   or association of Defendants with United Artists, or as to the origin, sponsorship, or
   7   approval of Defendants’ services or commercial activities by United Artists in
   8   violation of 15 U.S.C. § 1125(a).
   9         35.      As a direct and proximate result of Defendants’ wrongful acts, United
  10   Artists has suffered and continues to suffer and/or is likely to suffer damage to its
  11   trademarks, business reputation, and goodwill. Defendants will continue, unless
  12   restrained, to conduct their business and offer services using the UNITED
  13   ARTISTS Marks or other trademarks confusingly similar thereto and will cause
  14   irreparable damage to United Artists. United Artists has no adequate remedy at
  15   law and is entitled to an injunction restraining Defendants and, as applicable, their
  16   officers, members, agents, servants, and employees, and all persons acting in
  17   concert with them, from engaging in further acts of false designation of origin or
  18   association.
  19         36.      United Artists is further entitled to recover from Defendants the actual
  20   damages that United Artists has sustained, is sustaining, and/or is likely to sustain
  21   as a result of Defendants’ wrongful acts. United Artists is presently unable to
  22   ascertain the full extent of the monetary damages that it has suffered and/or is likely
  23   to sustain by reason of Defendants’ acts of false designation of origin or affiliation.
  24         37.      United Artists is further entitled to recover from Defendants the gains,
  25   profits, and advantages that Defendants have obtained as a result of their wrongful
  26   acts. United Artists is presently unable to ascertain the extent of the gains, profits,
  27   and advantages that Defendants have realized by reason of their acts of false
  28   designation of origin or affiliation.

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   1         38.    Because of the willful nature of Defendants’ wrongful acts, United
   2   Artists is entitled to an award of treble damages and increased profits pursuant to
   3   15 U.S.C. § 1117.
   4         39.    Pursuant to 15 U.S.C. §1117, United Artists is also entitled to recover
   5   its costs of suit, and its attorneys’ fees because this is an exceptional case.
   6                              THIRD CAUSE OF ACTION
   7                  (Dilution – 15 U.S.C.§ 1125(c) – Against Defendants)
   8         40.    United Artists repeats and realleges each and every allegation of
   9   paragraphs 1 through 39, above, as though fully set forth herein.
  10         41.    United Artists began using the UNITED ARTISTS Marks before
  11   Defendants began promoting and using the UNITED ARTIST STUDIOS and
  12   UNITED ARTIST FILM FESTIVAL marks. The UNITED ARTISTS Marks are
  13   inherently distinctive and have acquired distinction through United Artists’
  14   extensive, continuous, and exclusive use of them.
  15         42.    The UNITED ARTISTS Marks are famous and distinctive within the
  16   meaning of 15 U.S.C. §§ 1125(c)(1) and 1127.
  17         43.    Defendants’ use of the UNITED ARTIST STUDIOS and UNITED
  18   ARTIST FILM FESTIVAL marks is likely to dilute by blurring and/or tarnishment
  19   the distinctive quality of the UNITED ARTISTS Marks in violation of 15 U.S.C.
  20   § 1125(c).
  21         44.    Defendants’ acts complained of herein are likely to damage United
  22   Artists irreparably. United Artists has no adequate remedy at law for such wrongs
  23   and injuries. The damage to United Artists includes harm to its trademarks,
  24   goodwill, and reputation that money cannot compensate. United Artists is therefore
  25   entitled to a preliminary and permanent injunction enjoining Defendants’ use of the
  26   UNITED ARTIST STUDIOS and UNITED ARTIST FILM FESTIVAL marks and
  27   the UNITED ARTISTS Marks or any marks likely to dilute such Marks in
  28   connection with the promotion, advertisement and sale of any services offered by

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   1   Defendants.
   2         45.     Because of the willful nature of Defendants’ actions, United Artists is
   3   further entitled to recover from Defendants its actual damages sustained by United
   4   Artists as a result of Defendants’ wrongful acts. United Artists is presently unable
   5   to ascertain the full extent of the monetary damages it has suffered by reason of
   6   Defendants’ acts of dilution.
   7         46.     Because of the willful nature of Defendants’ actions, United Artists is
   8   further entitled to recover from Defendants the gains, profits, and advantages
   9   Defendants have obtained as a result of their wrongful acts. United Artists is
  10   presently unable to ascertain the extent of the gains, profits, and advantages
  11   Defendants have realized by reason of Defendants’ willful acts of dilution.
  12         47.     Pursuant to 15 U.S.C. § 1117, United Artists is entitled to recover its
  13   costs of suit, and its attorneys’ fees because this is an exceptional case.
  14                             FOURTH CAUSE OF ACTION
  15               (Cyberpiracy – 15 U.S.C.§ 1125(d) – Against Defendants)
  16         48.     United Artists repeats and realleges each and every allegation of
  17   paragraphs 1 through 47, above, as though fully set forth herein.
  18         49.     Defendants used and are using the UNITED ARTIST STUDIOS and
  19   UNITED ARTIST FILM FESTIVAL marks with a bad faith intent to profit from
  20   the UNITED ARTISTS Marks.
  21         50.     Defendants registered, are trafficking in, and are using the domain
  22   names www.unitedartiststudios.com and www.unitedartistfilmfestival.com, both of
  23   which are confusingly similar to the UNITED ARTISTS Marks.
  24         51.     As of the date Defendants registered and began trafficking in and using
  25   the domain names www.unitedartiststudios.com and
  26   www.unitedartistfilmfestival.com, the UNITED ARTISTS Marks were distinctive
  27   and the UNITED ARTISTS Marks were famous.
  28         52.     As a direct and proximate result of Defendants’ wrongful acts, United

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   1   Artists has suffered and continues to suffer and/or is likely to suffer damage to its
   2   trademarks, business reputation, and goodwill. Defendants will continue, unless
   3   restrained, to conduct their business and offer services using the UNITED
   4   ARTISTS Marks or other trademarks confusingly similar thereto in the subject
   5   domain names and will cause irreparable damage to United Artists. United Artists
   6   has no adequate remedy at law and is entitled to an injunction restraining
   7   Defendants and, as applicable, their officers, members, agents, servants, and
   8   employees, and all persons acting in concert with them, from engaging in further
   9   acts of cyberpiracy, and is also entitled to an order transferring the domain names
  10   www.unitedartiststudios.com and www.unitedartistfilmfestival.com to United
  11   Artists.
  12          53.   United Artists is further entitled to recover from Defendants the actual
  13   damages that United Artists has sustained, is sustaining, and/or is likely to sustain
  14   as a result of Defendants’ wrongful acts. United Artists is presently unable to
  15   ascertain the full extent of the monetary damages that it has suffered and/or is likely
  16   to sustain by reason of Defendants’ acts of cyberpiracy.
  17          54.   United Artists is further entitled to recover from Defendants the gains,
  18   profits, and advantages that Defendants have obtained as a result of their wrongful
  19   acts. United Artists is presently unable to ascertain the extent of the gains, profits,
  20   and advantages that Defendants have realized by reason of their acts of cyberpiracy.
  21          55.   Because of the willful nature of Defendants’ wrongful acts, United
  22   Artists is entitled to an award of treble damages and increased profits pursuant to
  23   15 U.S.C. § 1117.
  24          56.   Pursuant to 15 U.S.C. § 1117, United Artists is also entitled to recover
  25   its costs of suit, and its attorneys’ fees because this is an exceptional case.
  26                               FIFTH CAUSE OF ACTION
  27          (Trademark Infringement – Common Law – Against Defendants)
  28          57.   United Artists repeats and realleges each and every allegation of

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   1   paragraphs 1 through 56, above, as though fully set forth herein.
   2           58.   Defendants have used in commerce, without United Artists’ permission
   3   or authorization, the UNITED ARTISTS Marks or marks confusingly similar
   4   thereto – specifically, the UNITED ARTIST STUDIOS and UNITED ARTIST
   5   FILM FESTIVAL marks – in a manner that is likely to cause confusion with
   6   respect to the source and origin of Defendants’ services and is likely to cause
   7   confusion or mistake and to deceive purchasers as to United Artists’ affiliation,
   8   connection, or association with, or approval or sponsorship of, Defendants, their
   9   businesses, and/or their services.
  10           59.   Defendants’ acts constitute infringement of the UNITED ARTISTS
  11   Marks in violation of the common law.
  12           60.   As a direct and proximate result of Defendants’ wrongful acts, United
  13   Artists has suffered and continues to suffer and/or is likely to suffer damage to its
  14   trademarks, business reputation, and goodwill. Defendants will continue to use,
  15   unless restrained, the UNITED ARTISTS Marks or marks confusingly similar
  16   thereto, and will cause irreparable damage to United Artists. United Artists has no
  17   adequate remedy at law and is entitled to an injunction restraining Defendants and,
  18   as applicable, their officers, members, agents, servants, and employees, and all
  19   persons acting in concert with them, from engaging in further acts of infringement.
  20           61.   United Artists is further entitled to recover from Defendants the actual
  21   damages that United Artists has sustained, is sustaining, and/or is likely to sustain
  22   as a result of Defendants’ wrongful acts.
  23           62.   United Artists is further entitled to recover from Defendants the gains,
  24   profits, and advantages that Defendants have obtained as a result of their wrongful
  25   acts.
  26           63.   Because of the willful nature of Defendants’ wrongful acts, United
  27   Artists is entitled to an award of punitive damages.
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   1                              SIXTH CAUSE OF ACTION
   2      (Unfair Competition – Cal. Bus. & Prof. Code §§ 17200, et seq – Against
   3                                           Defendants)
   4         64.     United Artists repeats and realleges each and every allegation of
   5   paragraphs 1 through 63, above, as though fully set forth herein.
   6         65.    By reason of the foregoing, Defendants have been, and are, engaged in
   7   “unlawful, unfair or fraudulent business practices” in violation of §§ 17200 et seq.
   8   of the California Bus. & Prof. Code.
   9         66.    Defendants’ acts complained of herein have injured and will continue
  10   to injure United Artists irreparably. United Artists has no adequate remedy at law
  11   for these wrongs and injuries. The injury to United Artists includes harm to its
  12   UNITED ARTISTS Marks, goodwill, and reputation in the marketplace that money
  13   cannot compensate. United Artists is therefore entitled to: (a) injunctive relief
  14   restraining and enjoining Defendants and, as applicable, their officers, members,
  15   agents, servants, and employees, and all persons acting thereunder, in concert with,
  16   or on their behalf, from using the UNITED ARTISTS Marks or any mark, name,
  17   symbol, or logo which is confusingly similar thereto, in connection with the
  18   marketing or sale of any services by Defendants; and (b) restitution of Defendants’
  19   profits earned from their unauthorized use of the UNITED ARTISTS Marks or any
  20   mark, name, symbol, or logo which is confusingly similar thereto, in which profits
  21   United Artists has a vested interest.
  22                            SEVENTH CAUSE OF ACTION
  23               (Unfair Competition – Common Law – Against Defendants)
  24         67.    United Artists repeats and realleges each and every allegation of
  25   paragraphs 1 through 66, above, as though fully set forth herein.
  26         68.    United Artists invested substantial time and money in its development
  27   of the UNITED ARTISTS Marks.
  28         69.    Defendants used the UNITED ARTISTS Marks or marks confusingly

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   1   similar thereto – specifically, the UNITED ARTIST STUDIOS and UNITED
   2   ARTIST FILM FESTIVAL marks – to build its business and/or pass off its
   3   business as that of United Artists’ without United Artists’ authorization.
   4         70.    Likewise, Defendants passed off its services offered under the
   5   UNITED ARTISTS Marks or marks confusingly similar thereto – specifically, the
   6   UNITED ARTIST STUDIOS and UNITED ARTIST FILM FESTIVAL marks – in
   7   a manner likely to cause confusion as to the source of Defendants’ services or as to
   8   United Artists’ association or affiliation with, or sponsorship of, Defendants’
   9   services.
  10         71.    As a direct and proximate result of Defendants’ wrongful acts, United
  11   Artists has suffered and continues to suffer and/or is likely to suffer damage to its
  12   trademarks, business reputation, and goodwill. Defendants will continue, unless
  13   restrained, to pass off its business as that of United Artists’ and to conduct their
  14   business and offer services using the UNITED ARTISTS Marks or other
  15   trademarks confusingly similar thereto and will cause irreparable damage to United
  16   Artists. United Artists has no adequate remedy at law and is entitled to an
  17   injunction restraining Defendants and, as applicable, their officers, members,
  18   agents, servants, and employees, and all persons acting in concert with them, from
  19   engaging in further acts of unfair competition.
  20         72.    United Artists is further entitled to recover from Defendants the actual
  21   damages that United Artists has sustained, is sustaining, and/or is likely to sustain
  22   as a result of Defendants’ wrongful acts. United Artists is presently unable to
  23   ascertain the full extent of the monetary damages that it has suffered and/or is likely
  24   to sustain by reason of Defendants’ acts of unfair competition.
  25         73.    United Artists is further entitled to recover from Defendants the gains,
  26   profits, and advantages that Defendants have obtained as a result of their wrongful
  27   acts. United Artists is presently unable to ascertain the extent of the gains, profits,
  28   and advantages that Defendants have realized by reason of their acts of unfair

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   1   competition.
   2         74.    Because of the willful nature of Defendants’ wrongful acts, United
   3   Artists is entitled to an award of punitive damages.
   4                                  PRAYER FOR RELIEF
   5         WHEREFORE, United Artists prays that this Court enter judgment against
   6   Defendants as follows:
   7         1.       Finding that Defendants have: infringed the UNITED ARTISTS
   8   Marks under 15 U.S.C. § 1114 and the common law; violated 15 U.S.C. § 1125(a);
   9   diluted the UNITED ARTISTS mark under 15 U.S.C. § 1125(c); committed
  10   cyberpiracy under 15 U.S.C. § 1125(d); violated Cal. Bus. & Prof. Code § 17200 by
  11   engaging in unlawful, unfair, and fraudulent business practices; and committed
  12   unfair competition under the common law;
  13         2.       Ordering that Defendants and, as applicable, their officers, agents,
  14   servants, directors, employees, servants, partners, representatives, assigns,
  15   successors, related companies, and attorneys and all persons in active concert or
  16   participation with Defendants or with any of the foregoing be enjoined
  17   preliminarily during the pendency of this action and permanently thereafter from:
  18                        a.     Manufacturing, transporting, promoting, importing,
  19   advertising, publicizing, distributing, offering for sale, or selling any goods or
  20   services offered under the UNITED ARTIST STUDIOS and UNITED ARTIST
  21   FILM FESTIVAL marks, UNITED ARTISTS Marks, or any other mark, name,
  22   symbol, or logo, which is likely to cause confusion or to cause mistake or to
  23   deceive persons into the erroneous belief that any goods or services that Defendants
  24   caused to enter the stream of commerce or any of Defendants’ commercial
  25   activities are sponsored or licensed by United Artists, are authorized by United
  26   Artists, or are connected or affiliated in some way with United Artists or the
  27   UNITED ARTISTS Marks;
  28                        b.     Manufacturing, transporting, promoting, importing,

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   1   advertising, publicizing, distributing, offering for sale, or selling any goods or
   2   services offered under the UNITED ARTIST STUDIOS and UNITED ARTIST
   3   FILM FESTIVAL marks, the UNITED ARTISTS Marks, or any other mark, name,
   4   symbol, or logo that is a copy or colorable imitation of, incorporates, or is
   5   confusingly similar to the UNITED ARTISTS Marks;
   6                       c.     Implying United Artists’ approval, endorsement, or
   7   sponsorship of, or affiliation or connection with, Defendants’ goods, services, or
   8   commercial activities, passing off Defendants’ business as that of United Artists’,
   9   or engaging in any act or series of acts which, either alone or in combination,
  10   constitutes unfair methods of competition with United Artists and from otherwise
  11   interfering with or injuring the UNITED ARTISTS Marks or the goodwill
  12   associated therewith;
  13                       d.     Engaging in any act which is likely to dilute the
  14   distinctive quality of the UNITED ARTISTS Marks and/or injures United Artists’
  15   business reputation;
  16                       e.     Representing or implying that Defendants are in any way
  17   sponsored by, affiliated with, or licensed by United Artists; or
  18                       f.     Knowingly assisting, inducing, aiding, or abetting any
  19   other person or business entity in engaging in or performing any of the activities
  20   referred to in paragraphs 2(a) to (e) above.
  21         3.     Ordering that United Artists is the exclusive owner of the UNITED
  22   ARTISTS Marks and that such marks are valid and protectable;
  23         4.     Ordering that Defendants be required to deliver to United Artists for
  24   destruction any and all digital files, packaging, printed graphics, promotional
  25   materials, business cards, signs, labels, advertisements, flyers, circulars, and any
  26   other items in any of their possession, custody, or control bearing the UNITED
  27   ARTIST STUDIOS and UNITED ARTIST FILM FESTIVAL marks, the UNITED
  28   ARTISTS Marks, or any other mark, name, symbol, or logo that is a copy or

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   1   colorable imitation of, incorporates, or is confusingly similar to the UNITED
   2   ARTISTS Marks;
   3          5.     Ordering the transfer of the domain names
   4   www.unitedartiststudios.com and www.unitedartistfilmfestival.com, and any other
   5   domain names confusingly similar to the UNITED ARTISTS Marks, to United
   6   Artists;
   7          6.     Granting an award of damages suffered by United Artists according to
   8   proof at the time of trial;
   9          7.     Ordering that Defendants account to United Artists for any and all
  10   profits earned as a result of Defendants’ acts in violation of United Artists’ rights
  11   under the Lanham Act and the common law;
  12          8.     Granting an award of three times the amount of compensatory
  13   damages and increased profits pursuant to 15 U.S.C. § 1117;
  14          9.     Ordering restitution of Defendants’ profits earned from their
  15   unauthorized use of the UNITED ARTISTS Marks or any mark, name, symbol, or
  16   logo which is confusingly similar thereto, in which profits United Artists has a
  17   vested interest, pursuant to Cal. Bus. & Prof. Code § 17200, et seq.;
  18          10.    Granting an award of punitive damages for the willful and wanton
  19   nature of Defendants’ aforesaid acts under the common law;
  20          11.    For pre-judgment interest on any recovery by United Artists;
  21          12.    Granting an award of United Artists’ costs, expenses, and reasonable
  22   attorneys’ fees; and
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  25   ///
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  27   ///
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   1         13.   Granting such other and further relief as is just and proper.
   2                                         Respectfully submitted,
   3                                         SHEPPARD MULLIN RICHTER & HAMPTON LLP
   4
   5   Dated: February 4, 2019               By: /s/Jill M. Pietrini
                                                Jill M. Pietrini
   6                                            Paul A. Bost
                                                Attorneys for Plaintiff
   7                                            UNITED ARTISTS CORPORATION
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   1                                      JURY DEMAND
   2           United Artists demands a trial by jury of all issues triable by jury.
   3                                            Respectfully submitted,
   4                                            SHEPPARD MULLIN RICHTER & HAMPTON LLP
   5
   6   Dated: February 4, 2019                  By: /s/Jill M. Pietrini
                                                   Jill M. Pietrini
   7                                               Paul A. Bost
                                                   Attorneys for Plaintiff
   8                                               UNITED ARTISTS CORPORATION
   9   SMRH:488084697.6

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